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priority order or percentage payment is specified in the judgment.

The defendant shall be held jointly and severally liable with co-participant, William P. Marr (Docket No.
8:23CR00051-1) for the amount of restitution ordered in this judgment. The victims' recovery is limited to the amount
of their loss and the defendant's liability for restitution ceases if and when the victims receive full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine in addition to restitution.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Thomas Jason
Hunter, is hereby committed on Count 1 of the Information to the custody of the Bureau of Prisons for a term of 33
MONTHS.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3 years under the
following terms and conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and Second Amended General Order 20-04, including the conditions of probation and
                 supervised release set forth in Section III of Second Amended General Order 20-04;

              2. During the period of community supervision, the defendant shall pay the special assessment and
                 restitution in accordance with this judgment's orders pertaining to such payment;

              3. The defendant shall cooperate in the collection of a DNA sample from the defendant;

              4. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
                 involving investment programs or any other business involving the solicitation of funds without the
                 express approval of the Probation Officer prior to engaging in such employment. Further, the defendant
                 shall provide the Probation Officer with access to any and all business records, client lists, and other
                 records pertaining to the operation of any business owned, in whole or in part, by the defendant, as
                 directed by the Probation Officer;

              5. The defendant shall not be self-employed nor be employed in a position that does not provide regular
                 pay stubs with the appropriate deductions for taxes, unless approved by the Probation Officer;

              6. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                 judgments, and any other financial gains to the Court-ordered financial obligation;

              7. The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, or other
                 areas under the defendant's control, to a search conducted by a United States Probation Officer or law

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                      enforcement officer. Failure to submit to a search may be grounds for revocation. The defendant shall
                      warn any other occupants that the premises may be subject to searches pursuant to this condition. Any
                      search pursuant to this condition will be conducted at a reasonable time and in a reasonable manner
                      upon reasonable suspicion that the defendant has violated a condition of his supervision and that the
                      areas to be searched contain evidence of this violation;

              8. The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall
                 truthfully and timely file and pay taxes during the period of community supervision. Further, the
                 defendant shall show proof to the Probation Officer of compliance with this order;

              9. The defendant shall participate in mental health treatment, which may include evaluation and
                 counseling, until discharged from the program by the treatment provider, with the approval of the
                 Probation Officer; and

              10. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
                  treatment to the aftercare contractors during the period of community supervision. The defendant shall
                  provide payment and proof of payment as directed by the Probation Officer. If the defendant has no
                  ability to pay, no payment shall be required.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at or
before 12 noon, on Friday, January 12, 2024. In the absence of such designation, the defendant shall report on or
before the same date and time, to the United States Marshal located at the United States Court House, 411 West Fourth
Street, Santa Ana, CA 92701-4597

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The Court strongly recommends that the defendant be housed in a Southern California facility to facilitate visitation
with family, friends, and loved ones.

Bond is exonerated upon surrender.

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The Court advised the defendant of his right to appeal.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.



           October 12, 2023
           Date                                                   U. S. District Judge Fred W. Slaughter

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




           October 12, 2023                                 By    M. Kunig
           Filed Date                                             Deputy Clerk




The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:




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1.   The defendant must not commit another federal, state, or local          9.     The defendant must not knowingly associate with any persons
     crime;                                                                         engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal               any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a              by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                     family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                   review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by             protection of the community or rehabilitation;
     the court or probation officer;                                         10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                   not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation               other controlled substance, or any paraphernalia related to such
     officer;                                                                       substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation     11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment              being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;            12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation              ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before   13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                  enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                permission of the court;
7.   The defendant must permit the probation officer to contact him or       14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation              specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                           probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by               requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable      15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                       from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                          defendant; and provide the defendant with needed educational or
                                                                                    vocational training, medical care, or other correctional treatment in
                                                                                    the most effective manner.




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 X The defendant must also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

          When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
behalf.


        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal


                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




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